                                                                          Filed: 5/4/2022 9:59 AM
                                                                                             Clerk
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STATE OF INDIANA )                   IN THE LAKE COUNTY SUPERIOR COURT
                 ) SS:               CIVIL DIVISION ROOM 5
COUNTY OF LAKE   )                   SITTING IN HAMMOND, INDIANA

MARY EDWARDS and BRET EDWARDS )
     Plaintiffs,              )
                              )
vs.                           )           CAUSE NO.: 45D05-2110-CT-1025
                              )
EDISON EGALITE and            )
ROADWAY MOVERS, INC.,         )
     Defendants.              )

                                   COMPLAINT


     Comes now Plaintiffs, Mary Edwards and Bret Edwards by counsel,

the Law Offices of Matthew D. LaTulip, P.C., Matthew D. LaTulip, and

for cause of action against the Defendants states as follows:

     1.   That the Plaintiffs, Mary Edwards and Bret Edwards, at all

times relevant herein, are a resident of the State of Indiana.

     2.   That the Defendant, Edison Egalite, at all times relevant

herein,   is   a   resident   of    the   county   of   Suffolk,   State      of

Massachusetts.

     3.   That the Defendant, Roadway Movers, Inc., is a corporation

conducting business within the County of Lake, State of Indiana.

                                    Count I

     4.   That Plaintiffs hereby incorporate by reference rhetorical

paragraphs 1-3 of the jurisdiction section of their Complaint as if

each were set forth fully herein.

     5.   That on February 19, 2020, the Plaintiff, Mary Edwards,

was the driver in a vehicle traveling south bound on Interstate 65,


                                                                            EXHIBIT
                                                                                   A
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at or near State Raod 2, in Lowell, Lake County, Indiana.

     6.   That at said place and time, Defendant, Edison Egalite, drove

his vehicle in such a negligent and/or wanton and/or reckless manner

so as to strike the rear of the vehicle being driven by the Plaintiff,

Mary Edwards.

     7. That at said place and time, the Defendant, Edison Egalite,

was acting as an agent and/or employee of and within the scope of his

agency with Defendant, Roadway Movers, Inc.

     8.   That at the above referenced time of the collision, the

Defendant, Roadway Movers, Inc., recklessly or negligently entrusted

the Defendant, Edison Egalite, when they knew or should have known that

the Defendant, Edison Egalite, was incapable of properly undertaking

or completing the safe operation/delivery of goods and such contact

was reasonably foreseeable to cause injury.

     9.   That as a direct and proximate result of the negligent acts

and/or omissions of the aforementioned Defendants, the Plaintiff, Mary

Edwards, was severely and permanently injured, incurred medical

expenses for care, testing, and treatment, and suffered mental and

physical pain, loss of earnings, loss of earnings capacity, disfigure

and deforming, humiliation, and mental anguish.

     WHEREFORE, Plaintiffs, Mary Edwards and Bret Edwards, demand

judgment against the Defendants, Edison Egalite and Roadway Movers,

Inc., and pray for relief for reasonable compensatory damages, all

costs in this action, and all other relief just and proper in the
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premises.

                             LAW OFFICES OF MATTHEW D. LATULIP, P.C.
                             Attorneys for the Plaintiff


                             /s/ Matthew D. LaTulip
                             Matthew D. LaTulip



                                  Count II

  Come now Plaintiffs, Mary Edwards and Bret Edwards, by counsel,

Matthew D. LaTulip, and for their cause of action against the

Defendants, Edison Egalite and Roadway Movers, Inc., hereby state as

follows:

     10.    That Plaintiffs hereby incorporate by reference rhetorical

paragraph 1-3 of the jurisdiction section of their Complaint and

rhetorical paragraphs 4-9 of Count I of their Complaint as if each were

set forth fully herein.

     11. That Defendant, Roadway Movers, Inc., negligently hired

and/or retained Defendant Edison Egalite, which resulted in this

incident.

     WHEREFORE, Plaintiffs, Mary Edwards and Bret Edwards, demand

judgment against the Defendants, Edison Egalite and Roadway Movers,

Inc., and pray for relief for reasonable compensatory damages, all

costs in this action, and all other relief just and proper in the

premises.
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                             LAW OFFICES OF MATTHEW D. LATULIP, P.C.
                             Attorneys for the Plaintiff


                             /s/ Matthew D. LaTulip
                             Matthew D. LaTulip



                                 COUNT III

     Come now Plaintiffs, by counsel, and for third paragraph of

Complaint against Defendant, allege and state as follows:

     12.    That Plaintiffs hereby incorporate by reference rhetorical

paragraph 1-3 of the jurisdiction section of their Complaint and

rhetorical paragraphs 4-9 of Count I of their Complaint as if each were

set forth fully herein and rhetorical paragraphs 10-11 of Count II of

their Complaint as if each were set forth fully herein

     13.    That at all times relevant herein, Bret Edwards was and is

and continues to be the lawful wedded spouse of Mary Edwards.

     14. That as a direct and proximate result of the Defendant’s

negligence,   and/or   wanton,    and/or   reckless,    and/or   intentional

conduct, the Plaintiff, Bret Edwards, as the lawful wedded spouse of

the Plaintiff, Mary Edwards, suffered a loss of consortium.

     WHEREFORE, Plaintiffs, Mary Edwards and Bret Edwards, demand

judgment against the Defendants, Edison Egalite and Roadway Movers,

Inc., and pray for relief for reasonable compensatory damages, all

costs in this action, and all other relief just and proper in the

premises.
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                            Jury Demand

 Comes now Plaintiff, by counsel, and demands trial by jury.

                         LAW OFFICES OF MATTHEW D. LATULIP, P.C.
                         Attorneys for the Plaintiff


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